 Case 4:21-cr-20184-SDK-CI ECF No. 88, PageID.365 Filed 09/20/22 Page 1 of 4




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 United States of America,                    Criminal No. 21-cr-20184

       Plaintiff,                             Honorable Shalina D. Kumar

 v.                                           Violation:
                                              21 U.S.C. §§ 841(a)(1)
 D-1 Michael Fraley, Jr.,
     a/k/a “Sarge,”


      Defendant.
 ________________________________/


                                 INFORMATION

THE UNITED STATES ATTORNEY CHARGES:

                                   COUNT ONE

  (21 U.S.C. §§ 841(a)(1) & (b)(1)(B)(viii) – Possession with Intent to Distribute
                   Five or More Grams of Methamphetamine)

D-1 Michael Fraley, Jr.

             On or about March 24, 2020, in the Eastern District of Michigan,

defendant, Michael Fraley, Jr., a/k/a Sarge, knowingly possessed with the intent to

distribute five or more grams of actual methamphetamine, its salts, isomers, and

salts of its isomers, a Schedule II controlled substance.

      All in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B)(viii).
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                          FORFEITURE ALLEGATION

             Pursuant to Fed. R. Cr. P. 32.2(a), the government hereby provides

notice to the defendant of its intention to seek forfeiture of all proceeds, direct or

indirect, or property traceable thereto, all property that facilitated the commission

of the violations alleged, or property traceable thereto, and all property involved in,

or property traceable thereto, of the violations set for in this Information.

             Substitute Assets: If the property described above as being subject to

forfeiture, as a result of any act or omission of defendant:

             a. Cannot be located upon the exercise of due diligence;

             b. Has been transferred or sold to, or deposited with, a third party;

             c. Has been placed beyond the jurisdiction of the Court;

             d. Has been substantially diminished in value; or

             e. Has been commingled with other property that cannot be divided
                without difficulty;

the United States of America shall be entitled to forfeiture of substitute property

pursuant to Title 21, United States Code, Section 853(p), and Title 28, United

States Code, Section 2461(c).
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DAWN N. ISON
United States Attorney



ANTHONY VANCE
Chief, Branch Offices



s/BLAINE LONGSWORTH
BLAINE LONGSWORTH
Assistant United States Attorney

Dated: 09-20-2022
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    Companion Case information MUST be completed by AUSA and initialed
       United States District Court                                 Criminal Case Cover Sheet                                       Case Number
       Eastern District of Michigan
                                                                                                                                    21-cr-20184
    NOTE : It is the responsibil ity of the Assistant U.S. Attorney signing this form to complete it accurately in all respects.




I Comnanion Case Information                                                                              Companion Case Number:

     Th is may be a compan ion case based upon LCrR 57.10 (b)(4) 1 :                                     Judge Assigned:

                     □ Yes                           X No                                                 AUSA's Initials:           BL


              Case Title:                         USA v. Michael Fraley, Jr.

              County where offense occurred:                                 _G_e_n_e_s_e_e_C_o_u_n....
                                                                                                    ty.___ _ _ _ _ _ _ _ _ _ _ _ __

             Check One:               X Felony                □    Misdemeanor                      □   Petty

                        _ _ lndictmenU_ _ lnformation --- no prior complaint.
                        _ _ lndictmenU___ lnformation --- based upon prior complaint [Case number:]
                        _ _ lndictmenU  X Information --- based upon LCrR 57.10 (d) [Complete Superseding section below].

Superseding Case Information

Superseding to Case No: =2-=-1....;;-c=r--=-2=0'--'1'""8;...;4'----------- Judge:                                                  Shalina D. Kumar

             □          Corrects errors ; no additional charges or defendants.
             ·?&1'      Involves, for plea purposes , different charges or adds counts.
             □          Embraces same subject matter but adds the additional defendants or cha rges below:

                        Defendant name                                                          Charges                             Prior Complaint (if applicable)




Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case.

                                                                                   s/BLAINE LONGSWORTH
Date: September 20 , 2022                                                           Blaine Longsworth
                                                                                   Assistant United States Attorney
                                                                                   600 Church Street, Flint, Ml 48502
                                                                                    Phone: 810-766-5177
                                                                                    E-Mail address: bblaine.longsworth@usdoj.gov
                                                                                   Attorney Bar#: P55984


1
 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, (2) the same or related parties are present. and the cases arise out of the
same transaction or occurrence . Cases may be companion cases even though one of them may have already been terminated.
